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               Case 2:19-cv-01013-JD Document 1 Filed 03/08/19 Page 1 of 9
           '
                       J     IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PEN~SYL VANIA

      JOSEPH SILBERMAN,                                              Civil Action Noj,,   9       1013
                                      Plaintiff,
                      -against-                                      COMPLAINT

      S & I SERVICES, INC. and
      YAAHKOV A. GERLITZ,                                            DEMAND FOR JL'RY TRIAL

                                      Defendants.


               Plaintiff, JOSEPH SILBERMAN (hereinafter, "Plaintiff'), a New York resident, brings

      this Complaint by and through his undersigned counsel, against Defendants S & I SERVICES,

      NC. and YAAHKOV A. GERLITZ.

                             INTRODUCTION/PRELIMINARY STATEMENT

         1. The Plaintiff brings this personal injury claim, having suffered serious and grievous injuries

               as a result of the Defendants' negligence. Specifically, on September 12, 2018, the Plaintiff

               was a passenger in a motor vehicle owned and maintained by Defendant S & I SERVICES,

               INC., and operated by Defendant YAAHKOV A. GERLITZ. Because of the Defendants'

               negligence, the subject vehicle was involved in a motor vehicle accident in which Plaintiff

               suffered grievous injuries. As a result, the Plaintiff has been forced to undergo extensive

               medical treatment and hospitalization, emergency surgery, months of physical therapy and

               a continued inability to work.

                                                     PARTIES

         2. Plaintiff is a natural person who is a citizen of the State of New York, has his permanent

               residence in the State of New York and is domiciled in the State of New York.

         3. Defendant S&I Services, Inc. is a corporation incorporated in the State of Pennsylvania,
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   with its sole and principal place of business located at 247 Empire Drive, Mifflintown

   Mifflin PA 17059.

4. Defendant Yaahkov A. Gerlitz is a natural person who is a citizen of the State of New

   Jersey, has his permanent residence in the State of New Jersey and is domiciled in the State

   of New Jersey.

                              JL'RISDICTION AND VENUE

5. This Court has diversity jurisdiction over this matter pursuant to 28 USC § 1332, as this

   action involves ( 1) a single Plaintiff, who is a citizen of the State of New York, and (2) two

   Defendants, neither of whom is a citizen of the State of New York and who are citizens of

   either Pennsylvania and New Jersey, and (3) an amount in controversy well exceeding

   $75,000.00, due to the nature of the serious and debilitating injuries suffered by the

   Plaintiff.

6. Venue is proper in this judicial district pursuant to 28 U.S.C. § 139l(b)(2) because the

   subject motor vehicle accident happened in this district, namely in Bethel Township, Berks

   County, Pennsylvania.

                                NATURE OF THE ACTION

7. Plaintiff brings this action to recover damages for his serious personal injuries suffered

   solely as a result of the Defendants' negligence.

                                ALLEGATIONS OF FACT

8. Plaintiff repeats and incorporates the allegations contained in paragraphs numbered above

   herein with the same force and effect as if the same were set forth at length herein.

9. On September 12, 2018, the defendant, Yaahkov A. Gerlitz, was the operator of a motor

   vehicle, namely a 2006 Toyota Sienna minivan bearing License Plate KSF-9040, registered
  Case 2:19-cv-01013-JD Document 1 Filed 03/08/19 Page 3 of 9




   in the State of Pennsylvania.

I 0. On September 12, 2018, the defendant, S&I Services, Inc., owned the aforementioned

   motor vehicle.

I I. On September I 2, 20 I 8, the defendant, S&I Services, Inc., managed the aforementioned

   motor vehicle.

I 2. On September I 2, 20 I 8, the defendant, S&I Services, Inc., was responsible for the repairs

   of the aforementioned motor vehicle.

I 3. On September I 2, 20 I 8, the defendant, S&I Services, Inc., controlled the aforementioned

   motor vehicle.

I 4. On September I 2, 20 I 8, the defendant, S&I Services, Inc., entrusted Defendant Yaahkov

   A. Gerlitz with the use and operation of the aforementioned motor vehicle.

IS. On September I2, 20I8, Defendant Yaahkov A. Gerlitz operated the aforementioned

   motor vehicle with the knowledge of Defendant S&I Services, Inc.

I 6. On September I 2, 20 I 8, Defendant Yaahkov A. Gerlitz operated the aforementioned

   motor vehicle with the permission of the Defendant S&I Services, Inc.

I 7. On September 12, 2018, the defendant, Yaahkov A. Gerlitz, managed the aforementioned

   motor vehicle.

18. On September I2, 2018, the defendant, Yaahkov A. Gerlitz, controlled the

   aforementioned motor vehicle.

                                         COUNT I
                                        (Negligence)
19. Plaintiff repeats and incorporates the allegations contained in paragraphs numbered above

   herein with the same force and effect as if the same were set forth at length herein.
  Case 2:19-cv-01013-JD Document 1 Filed 03/08/19 Page 4 of 9




20. On September 12, 2018, at approximately 08:05 a.m., the Plaintiff was a passenger in the

   aforementioned 2006 Toyota minivan operated by defendant, Yaahkov A. Gerlitz as it

   traveled on the Off-Ramp DI exiting Interstate 78 at its intersection with Camp Swatara

   Road in Bethel Township, Pennsylvania.

21. At that time, the aforementioned 2006 Toyota minivan operated by defendant, Yaahkov

   A. Gerlitz disobeyed a stop sign and was immediately struck by a vehicle owned and

   operated by non-party Martha Weaver as that vehicle traveled southbound on Camp

   Swatara Road.

22. The Plaintiff suffered serious, grievous, and permanent injuries as a result of the subject

   motor vehicle accident.

23. The accident and the injuries resulting therefrom to Plaintiff were caused solely and wholly

   by reason of negligence, recklessness and carelessness of the Defendants, directly and

   vicariously, without any negligence on the part of the plaintiff contributing thereto.

24. The above stated occurrence and the results thereof were in no way due to any negligence

   on the part of the Plaintiff contributing thereto, but were caused by the negligence of the

   Defendants in the ownership, operation, management, maintenance and control of the

   aforementioned motor vehicle; in operating same without due regard to the rights and

   safety of the Plaintiff; in operating said motor vehicle in a manner which unreasonably

   endangered the Plaintiff in failing to properly steer, guide, manage and control said

   vehicle; in operating same at a rate of speed greater than was reasonable and proper at the

   time and place of the occurrence; in failing to apply the brakes or slow down or stop in

   such a manner as would have prevented the occurrence; in negligently failing to properly

   maintain the aforementioned motor vehicle; in negligently entrusting the aforementioned
         Case 2:19-cv-01013-JD Document 1 Filed 03/08/19 Page 5 of 9




'       motor vehicle to be used and operated by the defendant; in failing to have·made adequate

        and timely observation of and response to conditions; in failing to stop before a collision

        with Ms. Weaver's vehicle occurred; in failing to obey traffic control devices, particularly

       a stop sign, present at the place of occurrence; in failing to observe signs and signals

       prevailing at the time and place of the occurrence; in failing to keep proper look-out when

       controlling said vehicle; in failing to properly maintain said vehicle according to law; in

       failing to give adequate and timely signal, notice or warning; in operating said motor

       vehicle in violation of the traffic rules, regulations, statutes and ordinances in such cases

       made and provided; and in being otherwise careless, reckless, and negligent in the

       ownership, maintenance, operation and control of said motor vehicle.

    25. Solely by reason of the foregoing, the Plaintiff became and was rendered sick, sore, lame

       and disabled; received severe, serious and permanent injuries in and about diverse parts of

       his person; experienced great pain and suffering and plaintiff suffered and still suffers from

       said injuries; and plaintiff have been informed and verily believes said injuries to be of

       permanent nature; and plaintiff was incapacitated and will continue to be incapacitated

       from attending to usual duties, hobbies, activities and avocation; and plaintiff were

       compelled to and did seek hospitalization, medical care and treatment and will require

       further medical care and treatment in the future; and plaintiff was caused to and did expend

       diverse sums of money in an effort to cure and heal himself and will in the future be

        required to incur additional expenses for such medical and other aid; and plaintiff in other

        ways sustained the loss of diverse sums of money, all of which will continue into the future.

    26. The Plaintiff suffered serious, grievous, and permanent injuries as a result of the subject

        motor vehicle accident, including cervical fractures and spinal cord compression, which
         Case 2:19-cv-01013-JD Document 1 Filed 03/08/19 Page 6 of 9




      required immediate surgical intervention and lengthy hospital stays and rehabilitation to

      repair.

  27. Furthermore, as a result of the Defendants' negligence, Plaintiff has been disabled and

      unable to work since the September 12, 2018, thereby losing tens of thousands of dollars

     in lost wages.

  28. Plaintiff's injuries were caused solely by the negligence of the Defendants, and without

     any negligence on the part of the Plaintiff contributing thereto.

  29. As a result of the Defendants' actions, Plaintiff's life and limb has been severely harmed,

     and the Plaintiff therefore seeks $5,000,000.00 in compensation for those injuries.

                               DEMAND FOR TRIAL BY JURY

  30. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

      trial by jury on all issues so triable.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment against Defendant as follows:

                (a)   that Plaintiff be awarded a judgment in an amount no less than

                       $5,000,000.00;

                (b)    for the costs and disbursements of this action; and

                (c)     such other and further relief as this Court may deem just and proper.

Dated: March 6, 2019                            By: Isl Ari H. Marcus _      ~
                                                Ari I I. Marcus, Esq.
                                                Marcus & Zelman, LLC
                                                701 Cookman Avenue, Suite 300
                                                Asbury Park, NJ 07712
                                                Office: (732) 695-3282
                                                Fax:       (732) 298-6256
                                                Email:      Arifai,MarcusZelman.com
                                                Website: www .MarcusZelman.com
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        I. (a) PLAlSTIFFS
       JOSEPH SILBERMAN                                                                                                                     DEFENDANTS
                                                                                                                                      S & I SERVICES. INC. and YAAHKOV A GERLITZ
             (b)
                                                                                                                                          County of Residence of First I 1sted Defendant
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                                                                                                                                            Attorneys (I/ Known)
      Marcus & Zelman 701 Cookman Ave Ste 300 Asbury Park NJ 07712
      Tel· 732.695.3282 Email· ari marcuszelman.com

      JI. BASIS OF JURISDI
                                                                                                                   III. CITIZENSHIP OF PRINCIPAL PARTIESrP1acean ·x                                                     tnOneBoxforPtamtiff
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    VII. REQUESTED IN                               :::J CHECK IF nns TS A CLASS ACTION                                      DEMAND$                                               CHECK YES only            1f  emt,.,ed m complaint
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    VIII. RELATED CASE(S)                                                                                                                                                                                    L/
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                                  Case 2:19-cv-01013-JD Document 1 Filed 03/08/19 Page 8 of 9
                                          .,.      '.f.'"w           ~l'.NITED STATES DISTRICT COURT
                                                                FOR THE EASTERN DISTRICT OF PE~'.NSYL VANIA

                                                                                    DESIGNATION FORM                                         !~
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                        &,o be used by c ·'.       .    • o se pla:nlljftfJf~1cate the category of the case for the purpose of assignment to the appropriate calendar)

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    Address of Defendant:                247 Empire Drive, Mifflin PA 17059

    Place of Accident, Incident or Transaction: _ ~e~~ ~~~~h~p:._P~- ___________ _


    RELATED CASE, IF ANY:

    Case Number~                                                            Judge· ____________ _                                     Date Tenmnated:

    Civil cases are deemed related when Yes 1s answered to any of the followmg questions:

    I.    ls this case related to property mcluded in an earlier numbered smt pendmg or withm one year                                     YesD
          previously termmated action m this court?

    2     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                              YesD                  No[XJ
          pending or within one year previously tenrunated action m this court?

    3     Does this case involve the vahd1ty or mfhngement of a patent already in smt or any earlier                                     YesO                  No[l]
          numbered case pending or within one year previously termmated act10n ofth1s court9

    4.    Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights
          case filed by the same md1v1dual9
                                                                                                                                         Yes   D               No    [II
    I certify that, to my knowledge, the within case
    this court except as noted above.
                                                                   0   is   (jGJ·s not    related to any case now pending or within one year previously termmated act10n m
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    DATE __ ~ar:_h~~Ol~ _ _ _ _ _ _ _                             _             _ ___        "t'                                         _ --3~2~3-          ______ _
                                                                                   Attorney-at-Law I Pro Se P/atntiff                               Attorney ID # (ifappltcab/e)


    CIVIL: (Place a '1 in one category only)

    A.            Federal Question Cases:                                                            B.    Diversity Jurisdiction Cases:

    D     I  Indemnity Contract, Marine Contract, and All Other Contracts                            D     I     Insurance Contract and Other Contracts
    D     2  FILA                                                                                    D     2     Airplane Personal Injury
    D     3  Jones Act-Personal Injury                                                               D     3.    Assault, Defamation
    D     4. Antitrust                                                                               D     4.    Manne Personal Injury
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             Patent
          6. Labor-Management Relations
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 D        8. Habeas Corpus                                                                           D     8.    Products Liability -- Asbestos

v8!):!    9  Secunties Act(s) Cases
          IO Social Security Review Cases
          II All other Federal Question Cases
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                                                                                      ARBITRATION CERTIFICATION
                                                             (The effect of this certzficatwn 1s to remove the case from ellg1bzllty for ar bltratwn)

                                                       _     _ _ , counsel of record or pro se plamt1ff, do hereby certify

                  }Pursuant to Local C1v1l Rule 53 .2, § 3(c) (2), that to the best of my knowledge and behef, the damages recoverable m this civil action case
                   exceed the sum of $150,000 00 exclusive of interest and costs:

                  Rehef other than monetary damages is sought.
                                                                                                                                                         MAR·- 8 2019
                  March 6, 2019                                                           ~-----                                             322283
    DATE _ _
                                                                                    Attorney-at-Law 1 Pro Se Platntiff                              Attorney ID #(if applicable)

    NOTh A tnal de novo wtll be a tnal by iury only 1fthere has been compliance with FR C P 38

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            Case 2:19-cv-01013-JD
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                  J    IN THE UNITED STATES DISTRICT COURT
                   U'oR TH~ASTERN DISTRICT OF PENNSYLVANIA
   1.....----::-:·::-:'."· CASE MA.1\JAGEME~T TRACK DESIGNATION FOR.l\1
      JOSJ:PH Sil.BERMAN,
                                Plamuff
                                                                               CIVIL ACTION
                         v.
      S&I SERVICES, INC. and
      Y AAHKOV A. GERLITZ,
                                                                                    19               1013
                                                                              NO.
                                Defendants
 In ~c~ordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plamtiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOI::LOWING CASE MAcl\JAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                               ( )
(b) Social Security · Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                    ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.        ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                             ( )
(e) Special Management - Cases that do not faIJ into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                                ( )
(f) Standard Management - Cases that do not faIJ into any one of the other tracks.


 March 6, 2019                      Ari Marcus                         Plaintiff, Joseph Silberman

Date                                 Attorney-at-law                    Attorney for
 732.695.3282                       732.298.6256                      ari@marcuszelman.com


Telephone                             FAX Number                        E-Mail Address


(Ch. 660) 10/02




                                                                                     MAR - 8 2019
